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         In the United States Court of Federal Claims
                                          No. 04-108 C
                                    (Filed: August 22, 2008)


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GENERAL ELECTRIC COMPANY                            *
                                                    *
                      Plaintiff,                    *
                                                    *
       v.                                           *
                                                    *
UNITED STATES,                                      *
                                                    *
                      Defendant                     *
                                                    *
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                                            ORDER

       Pursuant to Rule 40.1(c) of the Rules of the Court of Federal Claims this case is hereby
reassigned to Chief Judge Edward J. Damich.




                                              s/Edward J. Damich
                                             EDWARD J. DAMICH
                                             Chief Judge
